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MINUTE ENTRY
AFRICK, J.
March 26 2015
JS-10 00:50

                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES ET AL.                                                           CIVIL ACTION

                                                                                     No. 12-859
VERSUS                                                                               c/w 12-138
                                                                                   REF: 12-859

MARLIN GUSMAN ET AL.                                                                SECTION I


                                            ORDER

       The Court met in chambers before the status conference with counsel for the parties, lead

monitor Susan McCampbell, sub-monitors Margo Frasier, and Dr. Robert Greifinger, budget

working group chair Tommie Vassel, New Orleans City Councilmember Susan Guidry, and

representatives of Correct Care Solutions, Inc. (“CCS”). As discussed at the conference in

chambers and at the status conference:

       With respect to outstanding informal document requests from the City, the Sheriff will

provide the presently available materials on or before Wednesday, April 1, 2015, and the balance

of the requested materials on Monday, April 6, 2015.

       Counsel for the City and for the Sheriff agreed to work with Tommie Vassel to project the

Sheriff’s funding needs and to develop a proposed framework for averting last-minute emergency

requests for funding. The City and the Sheriff will submit a proposed order regarding the dates on

which the Sheriff can expect to receive funds from the City which are necessary for continued jail

operations.

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       On or before Friday, March 27, 2015, the Sheriff shall submit to the Monitor a letter detailing

its progress relative to the solicitation of proposals for youth programming. On or before Friday,

April 3, 2015, the Sheriff shall consult with Superintendent Holt regarding this issue. On or before

Friday, April 10, 2015, the Sheriff shall submit a follow-up letter to the Monitor.



                                                      ___________________________________
                                                            LANCE M. AFRICK
                                                      UNITED STATES DISTRICT JUDGE




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